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U. S. DISTRICT COURT
UNITED STATES DISTRICT COURT EASTERN DISTRICT OF LOUISIANA

EASTERN DISTRICT OF LOUISIANA f .

IN RE: FEMA TRAILER MDL NO. 187 OCT 15 2010
FORMALDEHYDE PRODUCTS SECTION N MAG. a4
LIABILITY LITIGATION LORETTA G. WHYTE
CLERK

THIS DOCUMENT PERTAINS TO JUDGE ENG ELHARDT Ss eee
Civil Action No. 09-7925
Stacy Allen, et. al. MAGISTRATE CHASEZ
Vs.
Gulf Stream Coach, Inc., et al.

JURY DEMANDED

CERTIFICATE OF COMPLIANCE OF PRETRIAL ORDER NO. 55

Plaintiffs hereby request the Clerk of the Court issue summons in the above-
referenced matter. All parties have been matched to a manufacturer and contractor.

Respectfully submitted,

/s/ Robert C. Hilliard

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ATTORNEYS FOR PLAINTIFFS

CERTIFICATE OF SERVICE
| hereby certify that the above and foregoing pleading was served on all counsel

of record through electronic notification pursuant to the electronic filing in the United
States District Court for the Eastern District of Louisiana this October 13, 2010

/s/ Robert C. Hilliard

ROBERT C. HILLIARD
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Summons to be issued to the following Defendants:

Gulf Stream Coach, Inc.
CH2M Hill Construction, Inc.
Fluor Enterprises, Inc.

Shaw Environmental, Inc

Bechtel National, Inc
